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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MATTHEW RALSTON, :
Plaintiff, : CIVIL ACTION

Vv.

MITCHELL GARABEDIAN, ESQUIRE, et al,
NO. 2:19-cv-01539

Defendants.

 

WITNESS AFFIDAVIT PURSANT TO JANUARY 7, 2022 ORDER (DOC. 284)

L (Gv S$. wet , do swear or affirm under penalty of perjury:

1. I received and reviewed the Court’s order dated January 7, 2022 order (Doc. 284).

2. I intend to testify remotely.
3. I will not record, by video or audio, any portion of the trial.
4, I consent to the personal jurisdiction of this Court for purposes of enforcing the

terms of this Order and maintaining order during trial.

5. I will not allow anyone else to watch or listen to the video in my presence or with

my knowledge who has not signed this affidavit.

6. I acknowledge that I may not comment on, speak, or otherwise communicate with
counsel or any person electronically.

7, I will not have access to my phone, texts, emails, or other methods of
communication.

8. I will not have information on my computer, devices, or phone.

ae I will not have hard copies before me of any document until counsel directs me to

an identified exhibit. “_)

 

Dated: V4 AX®AQ
